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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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PATRICIA CUMMINGS,

                              Plaintiff,                                                            Docket No.
                                                                                                    19-cv-07723
          -against-

THE CITY OF NEW YORK; NEW YORK CITY
DEPARTMENT OF EDUCATION; CITY OF NEW YORK
OFFICE OF SPECIAL INVESTIGATIONS; NYC MAYOR
BILL de BLASIO; GIULIA COX; COURTNEY WARE; BEN
CHAPMAN; NEW YORK DAILY NEWS; DR. ANDRE PERRY;
THE HECHINGER REPORT a/k/a HECHINGER INSTITUTE ON
EDUCATION AND THE MEDIA; LENARD LARRY McKELVEY
a/k/a CHARLAMAGNE THA GOD; WWPR-FM (105.1 MHZ);
iHEARTMEDIA; CLEAR CHANNEL COMMUNICATIONS, INC.;
NEW YORK STATE SENATOR, KEVIN S. PARKER; COUNCILMAN,
JUMAANE D. WILLIAMS; COUNCILMAN, DANIEL DROMM;
COALITION OF EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
NATASHA CAPERS, and “JOHN DOE AND JANE DOE # 1-100”
said names being fictitious, it being the intent of Plaintiff to designate
any and all individuals, officers, members, agents, servants, and/or
employees of the aforementioned agencies owing a duty of care to
Plaintiff, individually and jointly and severally, Defendants
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - X

                    DECLARATION OF JAMES ROSENFELD IN SUPPORT OF
                         DAILY NEWS L.P. AND BEN CHAPMAN’S
                      MOTION TO DISMISS THE AMENDED COMPLAINT

          I, James Rosenfeld, declare and state:

          1.        I am a partner in the firm of Davis Wright Tremaine LLP, counsel for Daily News

L.P. (incorrectly sued as “New York Daily News”) (the “Daily News”) and Ben Chapman (together

with the Daily News, the “Daily News Defendants”). I submit this declaration in support of the

Daily News Defendants’ Motion to Dismiss the Amended Complaint.

          2.        Attached hereto as Exhibit A is a true and correct copy of the cover of the Daily

News on February 2, 2018.
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       3.       Attached hereto as Exhibit B is a true and correct copy of the Daily News article

entitled “Bronx Teacher Sparks Outrage for Using Black Students in Cruel Slavery Lesson,” by

Ben Chapman, Kerry Burke, and Esha Ray. The article was published on the Internet on February

1, 2018 and in print on February 2, 2018.

       4.       Attached hereto as Exhibit C is a true and correct copy of the Daily News article

entitled “Teacher Axed,” by Ben Chapman and Stephen Rex Brown. The article was published in

print on October 20, 2018.

       5.       Attached hereto as Exhibit D is a true and correct copy of the New York City Office

of Special Investigations Investigative Report regarding Patricia Cummings, dated July 24, 2018.

       6.       Attached hereto as Exhibit E is a true and correct copy of Patricia Cummings’

Notice of Claim against the City of New York, New York City Department of Education, and City

of New York Office of Special Investigations, filed on September 24, 2018.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: June 25, 2020
       New York, NY
                                                      /s/ James Rosenfeld
                                                     JAMES ROSENFELD




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